Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF ALABAMA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JHC Pharmacy, LLC

2.   All other names debtor
     used in the last 8 years     DBA Jackson Apothecary
     Include any assumed          DBA Jackson Apothecary Main
     names, trade names and       DBA Jackson Apothecary-Prattville
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1758 Park Place
                                  Montgomery, AL 36106
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.jackson.org/apothecary/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above

                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3254

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                               When                                 Case number
                                                District                               When                                 Case number




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          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      Jackson Hospital & Clinic, Inc.                              Relationship               Affiliate
                                                                Middle District of
                                                    District    Alabama                When     2/03/25                      Case number, if known      25-30256


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

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16. Estimated liabilities     $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 3, 2025
                                                  MM / DD / YYYY


                             X /s/ Allen Wilen                                                            Allen Wilen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Derek F. Meek                                                           Date February 3, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Derek F. Meek
                                 Printed name

                                 Burr & Forman LLP
                                 Firm name

                                 420 North 20th Street, Suite 3400
                                 Birmingham, AL 35203
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (205) 251-3000                Email address      dmeek@burr.com

                                 ASB-4255-C52D AL
                                 Bar number and State




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